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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 LILLIE WILLIAMS, et al.,                  )
                                           )
       Plaintiffs,                         )
                                           )
 v.                                        )   Case No.: 2:17-cv-1101-LCB
                                           )
 FRED’S STORES OF                          )
 TENNESSEE, INC.,                          )
                                           )
       Defendant.                          )

                                      ORDER

      On September 9, 2019, Defendant Fred’s Stores of Tennessee, Inc. (Fred’s)

filed for Chapter 11 bankruptcy protection in the U.S. Bankruptcy Court for the

District of Delaware. (Doc. 47). Four days later, Fred’s filed a Suggestion of

Bankruptcy in this action. Id. Under 11 U.S.C. § 362(a), Fred’s petition in the

Bankruptcy Court automatically stays these proceedings.

      The Clerk is therefore DIRECTED to close this file for administrative and

statistical purposes. This closure will have no effect on the Court’s jurisdiction over

the case, and it may be reopened, if appropriate, on either party’s motion.

      DONE and ORDERED this January 27, 2021.



                                     _________________________________
                                     LILES C. BURKE
                                     UNITED STATES DISTRICT JUDGE
